 

Case 1:19-cr-00921-AKH Document 48 Filed 01/04/22 Page 1 of 1

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December 22, 2021

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The Honorable Alvin K. Hellerstein , i ih | 5 @ d Ww Nn
United States District Judge cCpati sox i ‘4 f) aur’ -
Southern District of New York ye th aoe oze ar dl 1,30
500 Pearl Street fay ef 1 2 5
New York, NY 10007 (Lor (

 
  

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We represent Defendant Nicholas Truglia in the above-noted case. As the Court is aware, we have
requested that our psychologist, Dr. Barry Katz, conduct a psychological evaluation of Mr. Truglia
to identify potential information that could be useful to the Court at sentencing. This process is
well underway, although it is still ongoing and is taking longer than originally

anticipated. Additionally, the uptick in COVID-19 cases and the prevalence of the Omicron
variant is expected to add logistical complications that will contribute to the delay.

Re: United States v. Nicholas Truglia 19-cr-0092 Ur "

   

Dear Judge Hellerstein: ¥

We therefore write to respectfully request, first, that the Court adjourn the sentencing date,
currently scheduled for January 18, 2022, to a date in April. The Government consents to this

request, but for scheduling purposes requests that sentencing not take place between March 15 and
April 10, 2022.

Second, we respectfully request that the deadline for the parties to respond to the first disclosure
of the draft Presentence Investigation Report, currently this Monday, December 27, 2021, and the
date for the second disclosure, currently January 11, 2022, each be adjourned for 60 days. The
Government consents to this request as well; and the U.S. Probation Office has no objection.

Respectfully submitted,

/s/ ity GML

Jeffrey A. Udell

 

ce: AUSA Timothy Capozzi
U.S. Probation Officer Johnny Y. Kim
